      Case 3:21-cv-04482-TKW-HTC Document 6 Filed 03/07/22 Page 1 of 2


                                                                           Page 1 of 2
                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

LAZARO R. FERNANDEZ,

      Plaintiff,

v.                                                 Case No. 3:21cv4482-TKW-HTC

WARDEN JOHN WILLIS et al.,

     Defendants.
_______________________________/

                                       ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 5). No objections were filed.

      Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that this case should be

dismissed based on Plaintiff’s failure to prosecute, failure to truthfully disclose his

litigation history, and as time-barred by the statute of limitations. Accordingly, it

is ORDERED that:

      1.     The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.
      Case 3:21-cv-04482-TKW-HTC Document 6 Filed 03/07/22 Page 2 of 2


                                                                           Page 2 of 2


       2.     This case is DISMISSED with prejudice based on Plaintiff’s failure

to prosecute, failure to truthfully disclose his litigation history, and as time-barred

by the statute of limitations.

       3.     The Clerk shall enter judgment in accordance with this Order and

close the case file.

       DONE and ORDERED this 7th day of March, 2022.

                                         T. Kent Wetherell, II
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE




Case No. 3:21cv4482-TKW-HTC
